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                   Exhibit A
                             Case 2:18-cr-00422-DJH Document 42-1 Filed 04/10/18 Page 2 of 4
. . . . .·I
                                                                       ~D TO THE HONORABLE KATHRYN J. NELSON
                                                                                                HEARING DATE: MAY 24, 2017
              12-2-11362-4    49324693     ORDYMT         06-01-17                                  WITH ORAL ARGUMENT



                                                                                                                           FILED
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                                                                                                                        IN OPEN COURT

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                                          SUPERIOR COURT OF THE STATE OF WASHI
                                                      FOR PIERCE COUNTY

                 J.S., S.L., and L.C.,                                                     NO. 12-2-11362-4


                                                 Plaintiffs,                               ORDER DENYING VILLAGE VOICE
                                                                                           MEDIA HOLDINGS, LLC;
                        v.
                                                                                           BACKPAGE.COM, LLC, AND NEW
                 VILLAGE VOICE MEDIA HOLDINGS, L.L.C.,                                     TIMES MEDIA, LLC' S MOTION FOR
                 d/b/a Backpage.com; BACKP AGE.COM,                                        SUMMARY JUDGMENT
                 L.L.C.; NEW TIMES MEDIA, L.L.C., d/b/a
                 Backpage.com; and, BARUT! HOPSON,

                                                 Defendants.

                             THIS MATTER came before the Court on Defendants Village Voice Media Holding

                 LLC, Backpage.com, and New Times Media, LLC's Motion for Summary Judgment. After

                 listening to the oral argument of counsel, and after reviewing the materials submitted by the

                 parties, including:

                             (1) Defendants Village Voice Media Holding LLC, Backpage.com, and New Times
                                 Media, LLC's Motion for Summary Judgment, including the declarations and
                                 evidence submitted in support thereof;

                             (2) Plaintiffs' Opposition to Defendants' Motion for Summary Judgment, including
                                 the declarations and evidence submitted in support thereof; and,

                             (3) Defendants Village Voice Media Holding LLC, Backpage.com, and New Times
                                 Media, LLC's Reply in Support of Defendants' Motion for Summary Judgment,
                                 and the declarations or evidence submitted in support thereof, if any; and,

                             c4) ~~~t--'-'e==--11---'---V4__,_·____,,_~::...=.~~~--'-"---''---'-=--#--·_.:....;_M._M_.:....;_,~p-=--51_()~_()_ _
                 ORDER DEN ING BACKPAGE DEFS'
                                                                                                                 403 Columbia St. Suite 500
                 MOT. FOR SUMMARY JUDGMENT- I of3                                                                 Seattle, Washington 98104
                                                                                                          Phone (206) 462-4334 Fax: (206) 623-3624
                                                                                                                   http://www.pcvalaw.com
          Case 2:18-cr-00422-DJH Document 42-1 Filed 04/10/18 Page 3 of 4
'.



           <s>   f'tJlt. r1~&n<4.;s-m'f ~ ~~14$>)   f
           the Court hereby ORDERS that Defendants Village Voice Media Holding LLC,

     Backpage.com, and New Times Media, LLC's Motion for Summary Judgment is DENIED.

     ;(fLt~A,.W,~~~faw~~~
     (/V~µ/~~~~
     ~~)


                                         lf't.

           DONE IN OPEN COURT this ~b day of May, 2017.




     ORDER DENYING BACKPAGE DEFS'                        PFAU COCHRAN VERTETIS AMALA PLLC
                                                                   403 Columbia St. Suite 500
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                                                                     htto://www.pcvalaw.com
...         Case 2:18-cr-00422-DJH Document 42-1 Filed 04/10/18 Page 4 of 4




      PRESENTED BY:

      LAW OFFICE OF ERIK L. BAUER




                      uer, WSBA No. 14937
            Attorney for Plaintiffs


      PF AU COCHRAN VERTETIS AMALA PLLC




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            4845-2341-7417, V. 1




      ORDER DENYING BACKPAGE DEFS'                     PFAU COCHRAN VERTETIS AMALA PLLC
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